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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 20-CIV-61229-RAR

  JOEL ALIDES RODRIGUEZ

         Plaintiff,

  v.

  SONIA QUINONES, in her official
  Capacity as Chief of the Hallandale Police
  Department, et al.,

        Defendants.
  ____________________________________/

                                 ORDER TO PERFECT SERVICE

         THIS CAUSE comes before the Court sua sponte. On June 23, 2020, Plaintiff filed his

  Complaint [ECF No. 1]. A review of the record indicates that Defendant Officer Epson has not

  been served with the Complaint. Rule 4(m) of the Federal Rules of Civil Procedure requires

  service of the summons and complaint to be perfected upon defendants within 90 days after the

  filing of the complaint. It is therefore

         ORDERED AND ADJUDGED that on or before September 21, 2020, Plaintiff shall

  perfect service upon Defendant Officer Epson or show good cause as to why his Complaint should

  not be dismissed as to Defendant Officer Epson for failure to perfect service of process. Failure

  to file proof of service or show good cause by September 21, 2020 will result in a dismissal of

  Plaintiff’s claims against Defendant Officer Epson without prejudice and without further notice.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 20th of August, 2020.




                                                      _________________________________
                                                      RODOLFO A. RUIZ II
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                                            UNITED STATES DISTRICT JUDGE




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